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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE EASTERN DISTRICT OF NEW YORK

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In re:                                                       Case No. 22-71280-AST

          Edward Gonzales,                                   Chapter 11

                              Debtor.
____________________________________________ §

            ORDER APPROVING (FORMER) COUNSEL’S FEE APPLICATION

          On June 1, 2022, Debtor, Edward Gonzales (“Debtor”) filed an individual petition for

relief under chapter 11 of title 11 of the Bankruptcy Code. [dkt item 1] Norman Ortiz signed the

petition as counsel (“Counsel”). Despite apparent progress being made in the case, the

relationship between Debtor and Counsel deteriorated.

          On January 18, 2023, Counsel filed a Motion to Withdraw, seeking leave to withdraw

under Local Bankruptcy Rule 2090-1(d) and New York Rules of Professional Conduct 1.16(c).

[dkt item 47]

          On January 25, 2023, the Motion to Withdraw came for hearing, upon due and proper

notice. Debtor, Counsel, the Office of the United States Trustee and certain parties-in-interest

appeared. Debtor did not object to Counsel’s request to withdraw. The next day, the Court

entered an Order Granting the Motion to Withdraw. [dkt item 54]

          On February 2, 2023, (now former) Counsel filed an Application for Compensation

seeking approval of her fees and expenses for the period from the Petition Date through the date

of the application (the “Application”). Counsel requested $25,707.50 in fees and $2,023.12. in

expenses, with $10,000.00 of that total to be drawn against her retainer. [dkt item 55] Over the




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next three months, Debtor filed various letters in objection to the Application [dkt items 62, 63,

66, 67 & 72], and Counsel filed two responses in support of the Application. [dkt item 64 & 71]

       This Court has closely reviewed the Application, the objections, and the responses. These

pleadings reiterate and emphasize the serious breakdown in the relationship between Debtor and

Counsel which lead to Counsel’s withdrawal. However, Debtor’s accusations and complaints

reflect a dispute with Counsel about the facts that Counsel was supplied during her

representation and legal strategies Counsel deployed; they do not support a finding that Counsel

failed to represent Debtor in a competent, professional and appropriate manner. The Court itself

observed during several hearings held in this case that Counsel conducted herself in a competent,

professional and appropriate manner. Counsel provided competent representation to Debtor,

exercising the legal knowledge, skill, thoroughness and preparation reasonably necessary for the

representation, even as the relationship between Counsel and Debtor deteriorated. See New York

Rules of Professional Conduct 1.1(a).

       A review of the highly detailed billing records submitted by Counsel in support of the

Application also shows that Counsel provided services that were beneficial to and necessary for

the administration of this estate, at rates consistent with those generally charged in this District.

See Bankruptcy Code § 330; Hensley v. Eckerhart, 461 U.S. 424, 429-30 (1983) (“The amount

of the fee, of course, must be determined by the facts of each case.” (citing Johnson v. Georgia

Highway Express, Inc., 488 F.2d 714 (5th Cir. 1984) and the twelve factors recognized therein)).

Counsel’s out of pocket expenses also were reasonably incurred and appropriate for

reimbursement. Finally, at no time did Counsel act in a way that requires reduction or denial of

her fees.




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       As such, the Court finds and determines that the fees and expenses requested constitute

reasonable compensation for actual, necessary services rendered and expenses incurred. The

Court observes that none of the fees requested include compensation for defending against

Debtor’s objections, and, thus, t Baker Botts LLP v. ASARCO LLC, 135 S.Ct. 2158, 2167 (2015),

is not implicated.

       Accordingly, it is hereby

       ORDERED, that the Application is APPROVED; and

       ORDERED, that Counsel is allowed fees in the amount of $25,707.50 and expenses in

the amount of $2,023.12, and may draw her pre-petition retainer of $10,000.




 Dated: June 9, 2023                                          ____________________________
       Central Islip, New York                                           Alan S. Trust
                                                             Chief United States Bankruptcy Judge


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